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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION


COLLABORATION BETTERS
THE WORLD, INC., a Canadian
Corporation
                                                      JURY TRIAL DEMANDED
         Plaintiff,

vs.

THE HERTZ CORPORATION., a Delaware
Corporation

      Defendant.
_____________________________________/

                                          COMPLAINT

      1. This is an action for damages exceeding $75,000, exclusive of attorney’s fees, interest,

         and costs, arising out of Defendant The Hertz Corporation’s (“Hertz”) wrongful

         termination of a two-year Master Consulting Agreement entered into between it and

         Plaintiff Collaboration Betters The World, Inc., f/k/a Versett Inc., in September 2021, and

         Hertz’s subsequent refusal to pay about $2 million for work Versett performed for Hertz

         in accordance with the terms of the agreement.

                                             PARTIES

      2. Plaintiff Collaboration Betters The World, Inc., formerly known as Versett, Inc. and

         currently doing business as “Versett” (hereinafter, “Versett”) 1, is a corporation


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  Versett changed its name on January 1, 2023. Because the contracts at issue are between
Versett and Hertz, and because the company was known as “Versett” during the course of the
events described in the Complaint, the company will be referred to only as “Versett” throughout
the remainder of the Complaint.
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    incorporated in Alberta, Canada, with offices in Canada and Europe. Versett is a global

    technology consulting firm with specialized teams that lead the product design and

    development process for high growth companies.

 3. Defendant Hertz is a Delaware corporation based in Estero, Florida. Hertz, under its own

    name and through subsidiary vehicle rental brands Dollar and Thrifty, is one of the

    largest worldwide vehicle rental companies. Hertz also operates the Firefly vehicle rental

    brand and the Hertz 24/7 car-sharing business.

                              JURISDICTION AND VENUE

 4. This Court has subject matter jurisdiction pursuant to 28 U.S.C. 1332(a)(1) because there

    is complete diversity of citizenship between Versett and Hertz, and the matter in

    controversy in this civil action exceeds $75,000, exclusive of interest and costs.

 5. Venue is proper in this District pursuant to 28 U.S.C. 1391(b)(1) because the Defendant’s

    principal place of business is in this District, and pursuant to 28 U.S.C. 1391(b)(2)

    because Defendant transacts business in this state, and a substantial part of the events

    giving rise to this claim took part within this judicial district.

 6. The Court has personal jurisdiction over Hertz pursuant to section 48.193(2), Fla. Stat.,

    because Hertz is engaged in substantial and not isolated activity within Florida, as its

    principal place of business is at 8501 Williams Road, Estero, Florida, 33928. Personal

    jurisdiction also exists pursuant to section 48.193(1)(a)(1) and (7) because the cause of

    action arises from Hertz’s operating, conducting, engaging in, or carrying on a business

    or business venture in Florida or having an office or agency in Florida, and from

    breaching a contract in Florida by failing to perform acts required by the contract to be

    performed there.

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                                  STATEMENT OF FACTS

 7. Prior to September 2021, Versett worked alongside Hertz and certain of its stakeholders

    to understand the then-current state of Hertz’s mobile application ecosystem, as well as

    its goals with respect thereto.

 8. For purposes hereof, Hertz’s mobile application ecosystem includes fourteen (14)

    different applications – seven for iOS and seven for Android.

                       THE MASTER CONSULTING AGREEMENT

 9. Thereafter, on or about September 10, 2021, Hertz and Versett entered into a Consulting

    Agreement, later referred to as the Master Consulting Agreement (hereinafter, the

    “MCA”).

 10. The purpose of the engagement was for Versett to provide a Mobile Ecosystem Review,

    recommend design and flow changes, and then work along-side Hertz to develop and

    implement those changes.

 11. The initial term of the MCA was two years, beginning on September 10, 2021, and

    ending on September 9, 2023, unless extended by mutual agreement of the parties, or

    terminated as permitted by the MCA.

 12. The MCA called for Versett to provide certain services, which would either be set forth

    in a Statement of Work (hereinafter, “SOW”) or by some other agreement.

 13. The MCA provided for Versett to invoice Hertz in accordance with schedules set forth in

    the SOW, or in accordance with procedures agreed to by the parties. Hertz was required

    to pay Versett within 75-days of an accurate invoice.

 14. Pursuant to the MCA, among other things, an event of Default included the failure in any

    material respect to perform as required by the agreement, or failure in any material

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    respect to observe any covenant, condition, or agreement required by the MCA to be

    performed by either party and such failure is not cured within thirty (30) days after

    receipt of notice thereof.

 15. If a Default took place by Versett under section 9(2) of the MCA and continued without

    cure, Hertz could terminate the MCA, in whole or in part.

 16. Otherwise, Hertz, as its sole option, could terminate the MCA or any SOW at any time

    for any reason, upon thirty (30) days prior written notice to Versett. At that point, Hertz

    would be required to remit payment to Versett for all properly authorized expenses up to

    the date of termination in accordance with the MCA.

             FIRST STATEMENT OF WORK AND REQUEST FOR PROPOSAL

 17. The first Statement of Work (“SOW1”) was entered into around the same time as the

    MCA and was for a project titled “Mobile Ecosystem Review.”

 18. SOW1 was effective as of September 13, 2021, specifically incorporated the September

    10, 2021, MCA, and had a start date of September 30, 2021.

 19. For SOW1, Hertz engaged Versett to review the experience of Hertz’s then-current native

    iOS and Android mobile applications across Hertz’s entire family of companies.

    Collectively, this was called Hertz’s “Mobile App Ecosystem.”

 20. Specifically, Versett, through early conversations with Hertz’s stakeholders, identified

    several specific areas of focus that required review.

 21. As set forth in SOW1, Hertz intended to develop a strategy resulting from the audit to

    understand customers’ future vision within Hertz’s native app ecosystems.




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 22. Versett’s focus under the SOW1 was to establish a “firm understanding of the current

    state of the Mobile App Ecosystem from a strategic, design and technical understanding

    of Hertz’ capabilities and future roadmap through a customer-centric-lense.”

 23. The time for the work under the SOW1 was intended to be eight (8) weeks, which

    included time for multiple deliverables described in the SOW1, including a “complete

    end-to-end audit of the Mobile App Ecosystem and the key customer journeys.”

 24. Versett would also provide a final report of its recommendations, which would include

    user experience prototypes and technical recommendations to allow Hertz to take the next

    step. This included a draft Request for Proposal (“RFP”) to support delivering an end-to-

    end Mobile App.

 25. Versett was to be compensated $250,000 for the review it conducted in SOW1 payable in

    two installments, to wit: (a) 50% payable upon receipt of the deliverables, and (b) 50% if

    Versett is not selected at the conclusion of the RFP process managed by Hertz. However,

    the SOW1 provided that if Versett was accepted at the conclusion of the RFP process

    managed by Hertz to deliver the end-to-end mobile app, Versett agreed to apply the

    $125,000 previously paid in the form of a credit to Hertz. Id.

 26. On December 14, 2021, Versett submitted an invoice to Hertz for $250,000, which Hertz

    paid on January 26, 2022.

 27. Versett fully performed its obligations under the SOW1, and Hertz selected Versett at the

    conclusion of the RFP process to develop Hertz’s end-to-end Mobile App.

                        SECOND STATEMENT OF WORK - DESIGN

 28. On December 20, 2021, Hertz and Versett entered into the “Statement of Work Number

    2: Design,” in accordance with the MCA (hereinafter, the “SOW2”).



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 29. Hertz and Versett agreed that the additional work to be performed under the SOW2 will

    be performed commencing on January 1, 2022 and anticipated it would continue until

    February 28, 2022.

 30. Under the SOW2, Versett functioned “as the strategic design and software engineering

    partner within the Hertz Product Team, leading the product design and implementation

    process for the Hertz Car Rental Apps on iOS and Android platforms.”

 31. Unlike the first SOW, SOW2’s Fee Structure was a “Project Team Time and Material

    based contract.” Rather than pay a flat rate, Hertz agreed to be invoiced on a time and

    materials basis based on the cost of the dedicated project team provided to Hertz,

    including resources requested by Hertz.

 32. The Project Overview for the SOW2 contained three components: (1) Design, (2)

    Scoping, and (3) Development.

 33. The primary aspect of the SOW2 was design. Versett’s role was to “co-define a roadmap,

    business case and plan with Hertz … and update the interface by starting with a planning

    engagement.”

 34. Versett was to set forth as part of the SOW2 a roadmap containing “Key Project

    Deliverables,” with a goal of bringing Release 1.0 to market with a design refresh and

    major usability enhancements.

 35. By the end of the SOW2, Versett was to have developed a staffing plan and a new SOW

    defining milestones, functionality, timelines, team structure, and costs for Versett’s

    development of an application meeting the described criteria.

 36. Versett agreed to notify Hertz if the assumptions underlying the timeline turned out not to

    be correct, or if the scope of work changed, of a revised timeline for approval.



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 37. Versett’s development responsibilities within the Hertz Product Team with respect to the

    SOW2 were limited. It was to develop a new login screen and begin developing a new

    user authentication method, a vehicle selection filter, and an interface to select a rental

    deadline.

 38. Hertz acknowledged three specific risks with respect to the SOW2:

        a. Access to Hertz’s key stakeholders, which was needed by Versett;

        b. Delayed project feedback by Hertz;

        c. Missed technical delivery milestones by Hertz.

 39. Versett fully performed its obligations under the SOW2.

 40. By mid-February 2022, Versett and Hertz were working off a detailed Roadmap that

    covered development work for the first and second quarters of 2022 and included three

    release date targets: March 21, 2022, April 27, 2022, and May 24, 2022.

 41. However, Versett encountered challenges during the SOW2 phase, including delayed

    feedback from Hertz (particularly on weekends), as well as challenges with Hertz’s

    legacy code, which was left with “technical debt,” which occurs when an easier but

    limited solution to a problem is chosen over a better approach that would take longer.

 42. Nevertheless, by February 28, 2022, Versett and Hertz had a roadmap in place, a project

    plan for development, and Versett had in process a draft Scope of Work for the next

    phase.

                          ROADMAP AND NEXT SCOPE OF WORK

 43. On or about March 3 and 4, 2022, Versett met with Hertz in Estero, Florida, to discuss

    the Roadmap and attempt to work out challenges going forward.




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 44. Among those challenges was meeting the March 21, 2022, release date from the

    roadmap, in part due to delays with the iOS version of the app caused by delayed

    feedback from Hertz.

 45. Following that meeting, on March 6, 2022, Mr. Richard Kim, Versett’s Technology

    Leader, shared via email Versett’s plan to meet the March 21, 2022, release date. In that

    email, Mr. Kim noted that during the previous weekend, Versett’s team was not getting

    timely code approval and support from Hertz, further putting the deadline for the iOS

    version of the app in jeopardy.

 46. Nevertheless, Mr. Kim set forth a plan to meet the March 21, 2022, release date, which

    provided for Versett’s continuing to work weekends and the timely receipt of build and

    code approval support from Hertz over the weekend, with responses coming within 30

    minutes.

 47. Also on March 6, 2022, Mr. Bill Murphy from Hertz sent an email to the Versett/Hertz

    team outlining action plans agreed upon during the March 3 and 4 meetings. This

    included Versett providing additional personnel on a short time frame and several other

    points aimed at helping the Hertz and Versett development teams work together toward

    reaching the aggressive goals set forth, given the challenges faced by Hertz’s existing

    codebase and bottlenecks caused by Hertz’s delays in providing timely build and code

    approval support.

 48. Versett continued to work toward meeting the March 21, 2022, release date over the

    coming days. However, it still was not receiving timely responses from Hertz, and did not

    receive an expected iOS build from Hertz until March 9, 2022. This was enough to delay

    the iOS release by a week.



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 49. Thus, by March 9, 2022, it was apparent to Versett that Hertz’s team was not meeting the

    expectations set forth during the March 3-4 meeting and further detailed in the March 6,

    2022, emails. Accordingly, Versett concluded that the March 21, 2022, deadline was

    unrealistic and that a revised timeline was necessary, as provided for in section 5.2 of the

    SOW2.

 50. During the evening of March 9, 2022, Ms. Jane Chae, Versett’s Head of Technology, sent

    an email setting forth a proposed revised timetable with a target release date of April 4,

    2022.

 51. On March 10, 2022, Hertz’s Ms. Georgina (“Gina”) O’Leary, rejected Versett’s proposed

    revised plan and asked for Ms. Chae to provide a revised plan that would allow for a

    March release, and suggested that if Versett were unable to meet that delivery timetable,

    Versett could be re-assigned to something later in the roadmap, and a Hertz team would

    take over the development needed for the upcoming release.

 52. Also on March 10, 2022, Mr. Bill Murphy requested an update from Versett on adding

    additional developers to the team, which Mr. Murphy described as “critical.” Versett

    responded that it was adding three experienced developers to the project and was in the

    process of finalizing the timing of getting them off their current engagements and on to

    the project as soon as possible.

 53. On March 11, 2022, Mr. Bill Murphy informed Ms. O’Leary and Versett that the plan

    was to stay the course, double down efforts, and work weekends to meet the objective of

    a March release.

 54. Versett’s team did just that. It put in the effort by continuing to work weekends, provided

    additional staffing that was requested, and ultimately was able to complete development



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     on target for a March release, with only the iOS version of the app held up past March 31,

     2022, awaiting review from Hertz.

                      HERTZ WRONGFULLY TERMINATES THE MCA

  55. On April 1, 2022, inexplicably, and without notice in violation of the MCA, Hertz

     terminated Versett.

  56. At no time prior to April 1, 2022, had Hertz provided any notice whatsoever that it had

     any intent to terminate the MCA.

  57. The termination truly came out of the blue – Versett had hired engineers to work on the

     project, at Hertz’s request, as recently as March 28, 2022.

  58. On April 4, 2022, because it believed Hertz was wrong to terminate the MCA, Versett

     reluctantly stopped all work at Hertz’s demand.

                     HERTZ REFUSES TO PAY FOR VERSETT’S WORK

  59. On January 31, 2022, Versett submitted an accurate invoice for $562,850, representing

     work it performed in January, as well as a small amount of work performed in December

     2021. Hertz never paid this invoice.

  60. On March 1, 2022, Versett submitted an accurate invoice for $618,000, representing

     work it performed in February. Hertz never paid this invoice.

  61. On April 5, 2022, Versett submitted an accurate invoice for $981,050, representing work

     it performed in March. Hertz never paid this invoice.

  62. Also on April 5, 2022, Versett submitted an accurate invoice of $8032.04 for its

     expenses. Hertz never paid this invoice.

  63. The total amount of the outstanding, unpaid invoices is $2,169,932.04. Because Versett

     agreed to credit $250,000 of the amount it was paid under the SOW1, Hertz owes Versett



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     $$1,919,932.04. Each of the invoices is past-due by more than 75-days, causing Hertz to

     be in material breach of the MCA.

  64. Versett reached out to Hertz in April 2022 to determine the status of its unpaid invoices.

  65. On April 26, 2022, Hertz’s Bill Murphy responded to Versett via email, and explained

     that Hertz would not pay the full amount invoiced by Versett, but instead would reduce

     the amount owed by $1,501,190, due to what Mr. Murphy described as a “methodical

     adjustment … to reflect a Low Quality Factor.” Neither Mr. Murphy nor anyone else at

     Hertz suggested that Versett’s invoices were inaccurate in any way.

  66. Simply put, nothing in the MCA, SOW1, SOW2, or any other written agreement between

     Hertz or Versett permits Hertz to unilaterally reduce the amount it agreed to pay Versett

     by any amount, and especially by a so-called “Low Quality Factor” that is not defined

     anywhere in the agreements.

  67. Indeed, SOW2 specifically states it is a time and materials-based contract, and that

     Versett will perform by providing a dedicated project team available to Hertz.

  68. If Hertz had any issue with the quality of Versett’s work, the agreements required Hertz

     to provide Versett with notice and opportunity to cure, which Hertz never did.

  69. Instead, Hertz simply chose not to pay for the work, as it was obligated to do so.

  70. Indeed, upon information and belief, Hertz is using the code Versett developed in both

     the Android and iOS versions of the app, as it is evident from Hertz’s use of the login

     screen and design flows.




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                                        COUNT I
                                 BREACH OF CONTRACT
                               (FAILURE TO PAY INVOICES)

  71. Versett incorporates paragraphs 1-70 above.

  72. Versett and Hertz had a valid and enforceable contract, with its terms set forth by the

     MCA, subsequent SOWs, specifically SOW1 and SOW2, as well as subsequent written

     and verbal modifications by the parties later ratified in writing and by conduct.

  73. Pursuant to the terms of the MCA, Versett was to submit invoices to Hertz, and Hertz

     was required to pay them within 75 days.

  74. As set forth above, Versett submitted accurate invoices to Hertz on January 31, 2022,

     March 1, 2022, and April 5, 2022, for work performed and expenses incurred, totaling

     $2,169,932.04.

  75. Hertz failed to pay any of these invoices within the 75-day time period provided by the

     MCA.

  76. Because Hertz is entitled to a $250,000 credit pursuant to SOW1, Hertz owes Versett a

     total of $1,919,932.04.

  77. On October 19, 2022, Versett’s counsel sent a letter to Hertz’s counsel demanding

     payment of the money owed to Versett.

  78. As of the date of this Complaint, Hertz has not paid anything to Versett pursuant to the

     invoices.

  79. Accordingly, Hertz is in material breach of the MCA and SOW2 by failing to pay Versett

     for the work it performed and properly invoiced, as well as for expenses it incurred and

     properly invoiced.




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  80. As a result of Hertz’s material breach, Versett has been damaged by $1,919,932.04, plus

     interest and the costs of bringing this action.

         WHEREFORE, Versett demands that the Court order Hertz to pay Versett

  $1,919,932.04 in damages, plus pre-judgment interest, Versett’s costs in bringing this action,

  and any other relief the Court deems necessary and just.

                                        COUNT II
                                   BREACH OF CONTRACT
                                 (WRONGFUL TERMINATION)

  81. Versett incorporates paragraphs 1 - 70 above.

  82. The MCA constitutes a valid, enforceable contract between the parties and had a set term

     of two years.

  83. The MCA had a termination provision, which allowed Hertz to terminate the agreement

     or any SOW at its sole option upon 30 days prior written notice, and Versett to terminate

     the agreement or any SOW at its sole option upon 90 days prior written notice.

  84. The termination provision provides that, upon receipt of a notice of termination, Versett

     must deliver to Hertz confidential materials and work in progress, which Hertz will remit

     payment for in accordance with the MCA and as set forth by the work schedule in any

     SOW.

  85. Paragraph 16 of the MCA also provided that either party may terminate upon material

     breach by the other party if that material breach is not cured within the time frame

     provided.

  86. Hertz did not provide Versett with any notice that it was in material breach of any

     provision of any agreement, and thus no opportunity to cure any purported breach.




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  87. On April 1, 2022, without any prior written notice, Hertz terminated the MCA. This was

      despite the fact that Versett had a large team actively working on the project’s Roadmap,

      including dozens of engineers who could not be readily redeployed at a moment’s notice.

  88. Hertz knew that Versett had dozens of engineers actively working on the project, and

      thus it was reasonably foreseeable to Hertz that Versett would suffer damages if the MCA

      were terminated without notice.

  89. Hertz nevertheless terminated the MCA without notice, and, as a direct a proximate result

      of Hertz’s wrongful termination of the MCA, Versett has suffered damages in an amount

      to be determined at trial.

      WHEREFORE, Versett demands that the Court order Hertz to pay Versett

  compensatory damages in an amount to be determined at trial, plus pre-judgment interest,

  Versett’s costs in bringing this action, and any other relief the Court deems necessary and

  just.

                              COUNT III – UNJUST ENRICHMENT
                                      (In the Alternative)

  90. Versett incorporates paragraphs 1 to 70 above.

  91. Versett conferred numerous valuable benefits upon Hertz during the course of its

      engagement, until it was wrongfully terminated on April 1, 2022.

  92. Those benefits included the deliverables in SOW2, as well as additional work performed

      by Versett consistent with the Roadmap that was generated as part of SOW2.

  93. Hertz voluntarily accepted those benefits, both before and after it wrongfully terminated

      Versett.

  94. Upon information and belief, Hertz merged Versett’s code into its App, as the login

      screen and design flows are consistent with the work Versett delivered to Hertz.

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   95. Hertz did not pay for or otherwise offer Versett adequate compensation for the benefits

       conferred. Instead, it wrongfully terminated Versett.

   96. Under these circumstances, it would be inequitable for Hertz to retain those benefits

       without compensating Versett for them.

       WHEREFORE, Versett demands that the Court order Hertz to compensate Versett for the

benefits it conferred in an amount to be determined at trial, plus pre-judgment interest, Versett’s

costs in bringing this action, and any other relief the Court deems necessary and just.


                                    JURY TRIAL DEMAND

       Versett demands a trial by jury for all issues so triable.

Dated: February 27, 2023
                                                      Respectfully submitted,

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